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Agent Matthew Bryant (00:12):
Hey, brother.

James Garretson (00:13):
Hey, what's going on?

Agent Matthew Bryant (00:14):
Hey, I was just going to double check. Hey, I know you and I are good friends. We've been through a lot
together. I just want to ask you this question. There was a weird sound in your tone. You weren't
recording my conversation were you?

James Garretson (00:27):
No!

Agent Matthew Bryant (00:27):
All right. I didn't think so. I was like, shit. [crosstalk 00:00:32] That sounds just like something that was
being recorded. I said, "No way James would record me."

James Garretson (00:36):
No!. Come on. No. [crosstalk 00:00:40] my phone anymore.

Agent Matthew Bryant (00:43):
Good deal. [crosstalk 00:00:45]

James Garretson (00:45):
I'm not. I just want this shit to be all done.

Agent Matthew Bryant (00:49):
Yeah. You and I both are on the same page. [crosstalk 00:00:53] I didn't think so.

James Garretson (00:55):
[crosstalk 00:00:55] to be done. I would never record you.

Agent Matthew Bryant (00:57):
Yeah, I didn't think so. You and I have been through a lot of shit together [crosstalk 00:01:02] I didn't
think you would [crosstalk 00:01:06] but the sound that I was hearing was just like somebody that might
be recording. I was like, [crosstalk 00:01:08] there's no way.

James Garretson (01:09):
I have T-Mobile now, and it's shitty service, and I had to go to T-Mobile [crosstalk 00:01:16] and no, I
would never record you.

Agent Matthew Bryant (01:19):


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Cool, brother.

James Garretson (01:20):
That's crazy.

Agent Matthew Bryant (01:20):
All right.

James Garretson (01:29):
All right. [crosstalk 00:01:30] I really want him to plea out so we don't have to deal with this shit.

Agent Matthew Bryant (01:31):
Me and you both. I think if he does, it will at the midnight hour.

James Garretson (01:34):
Right before trial?

Agent Matthew Bryant (01:36):
Yeah.

James Garretson (01:38):
Yeah. It's just going to be a Jerry Springer show, man. White-trash TV kind of crap.

Agent Matthew Bryant (01:48):
Oh yeah, it will be. [crosstalk 00:01:52]

James Garretson (01:52):
All right man, [crosstalk 00:01:54] no, I would never record you man, ever.

Agent Matthew Bryant (01:55):
All right brother. Appreciate it man.

James Garretson (01:55):
All right, bye.




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